 06/29/2021                                                                   Judge David W Hercher
 09:00 20-03077-dwh                  Teherani-Ami, in her capacity as the trustee of t v. Dinihanian,
            19-31883-dwh11           Jr. et al
                                     Tasha Teherani-Ami, in her        ELEANOR A DUBAY
                                     capacity as the trustee - pla
                                     Dinihanian, Jr. - dft             NICHOLAS J HENDERSON

 Matter: Continued Pretrial Conference

 Additional Appearances: Doug Pahl, Chris Coyle, Bruce Orr.

 Summary of Proceedings

Oral argument on not-yet-filed summary judgment motions and a nonevidentiary confirmation hearing in the
main case will be set for 9/7/2021 at 1:30 pm by video.

Summary judgement motions due by 8/3/2021. The order approving disclosure statement needs to be issued in
the main case by 7/27/2021.

The court will reserve the full day of 9/21/2021 for an evidentiary hearing and other matters to be decided on at
the 9/7/2021 hearing.


 Order to be prepared by:            Clerk’s Office               Chambers         Other:

 Order of Dismissal: # of
 days

      Settlement reported
      Failure to answer
      Failure to prosecute
      Party to submit proposed judgment
      Failure to submit pretrial order

Order re: Application of FRCP 26.
      OFRCP1 Planning conference due                       Report due by
      by
      OFRCP2 Planning conference due                       No Report
      by
 X OFRCP3 Discovery can proceed
      OFRCP4 No planning conference/disclosures
      by
      OFRCP5 Discovery limited to

Minute Order:




                              Case 20-03077-dwh         Doc 29     Filed 06/29/21
